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                             SO U TH ERN D ISTR ICT O F FLO R IDA
                                C A SE N O .18-20298-C R-C0 0 %
                                   M agistrate Judge G oodm an


  UN ITED STA TES O F A M ERIC A,

  V S.


  B REN DA N BUTLE R,

              D efendant.
                                      /

                                      FA C TUA L PR O FFER

          H ad thiscase proceeded to trial,theU nited Stateswould have proven beyond a reasonable

  doubtthe follow ing factspertaining to countone ofthe lnfonnation,which charges a conspiracy

  to violate CivilRights,in violation ofTitle 18,United StatesCode,Section 241.

         From on or aboutM arch 27,20l7,and continuing through on or about M arch 28,2017,

  defendant Brendan Butler (ççDefendant'') was a Sergeant with the Florida Department of
  Corrections('tFDOC'')attheSouth FloridaReception CenterCtSFRC'')inM iami-DadeCounty,
  Florida.SFR C is a prison facility operated by the FD O C w here inm ates are housed in separate

  buildings,com monlyreferrèd to asdormitories.

         The B-D orm itory,com m only know n as the çtBravo''D orm itory,w as com prised of three

  quadsand wasdesignated to houseonlyYouthfulOffenders(ççYO'')in orderisolateandprotect
  them from adultinm atesincarcerated atSFRC .lnm atesm ay be classitied asY Os by a courtwhen

  sentenced forcom m itting a crim ebefore theirtw enty-firstbirthday or,afterbeing incarcerated,by

  FD O C ifthey are twenty-four yearsold or younger.V ideo security cam eras w ere located inside

  thecommon areaofQuadOneofB-Dormitorybutnotoutsidethisdorm invicinityofanadjacent
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  room know n as the ttm op closet''cleaning equipm entwas stored.O n M arch 27,2017,Y O 1,Y O

  2,and Y O 3 w ere housed in Bravo Donnitory.

         The E-Dorm itory,know n as tçEcho''Dorm itory,housed inm atesin solitary continem entat

  SFRC . Correctional officers, w ith supervisory approval, could designate inm ates for solitary

  confinem ent,forbeing disruptive ordisrespectful.V ideo security cam erasw ere located inside the

  commonareasofE-Dormitorybutnotoutsidethedonnitoryinthevicinity ofan adjacentroom,
  commonlyknownastheççdisciplinaryreview''(t6D R '')room.
         On M arch 27 and 28,2017,the defendantw asa m em berofthe Security 9 team atSFRC,

  along w ith two correctional officers. Security 9 m em bers w ere not assigned to w ork in any

  particular dorm itory but instead provided intelmal security and perfonned other functions in the

  com m on areas of SFRC .On M arch 27,2017, one of the correctional ofticers working on the

  Security9team ('tT.R.'')toldthedefendantthatacorrectionalofficerassignedtoBravoDormitory
  wanted assistancedealing w ith disorderly and disrespectfulinm ates.Thereafter,the defendantand

  T.R.wentto Bravo Donnitory and were advised thatYO 1,YO 2,and YO 3 werethe disorderly

  and disrespectful inm ates in question.The defendant told YO 3 to go outside and wait in the

  breezeway in the frontofBravo D orm itory and T.R.gave Y O 1 and Y O 2 the sam e instructions.

         Outside of Bravo D orm itory,the defendant and T.R.approached the three Y O s and the

  defendant told them to go into the m op closet in order to verbally counsel them in a m ore

  intim idating environm ent.O nce inside the closet,the Y Os lined up againstthe back w all facing

  the defendant and T.R. and the defendant attem pted to talk with the Y Os about disrespecting

  fem ale correctionalofficers.A fter Y O l laughed and talked back,the defendantslapped Y O l in

  the face.ln response,Y O 1 tried to punch the defendantbutm issed,then attem pted to tackle the


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      defendant.The defendantreached down and used both annsto secure Y O 1around the w aist,then

      applied hisw eight,and broughtY O 1 to the floor.W hile the defendantand Y O 1 werephysically

      engagedonthefloor,thedefendanttoldT.R.thatthisfightwasattone-on-one''and ttdon'tjump
      in.''A tGone-on-one''isfightbetw een one officerand one inm ate,even ifotherofficersare present

      and able to assist. Though one-on-ones specifically violate FD OC rules, this practice w as

      com m onplace atSFRC and wasthoughtto be a m eans to establish respectwithin the facility and

      to resolve conflictsin lieu ofsending inm atesto confinem ent,the penalty for disorderly conduct

      actually sanctioned by FD O C.A fterthe altercation started in the m op closet,T.R.took Y O 2 and

      Y O 3 outofthe m op closetand then returned w ith a broom stick in hishand.The broom stick w as

      physically used onYO 1byT.R.(medicalphotostaken approximately fourdayslaterreflected
      largewelts/bruiseso O 1' owerextremities)andtheconfrontationendedminuteslater.
                               Y          C-6'
                  On the following day,w hen the defendantw as arriving to work atSFRC,a correctional

      officeraskedthedefendantwhetherhewasthesubjectofanzmorthatYO 3wasspreadingthat,
      on the preceding day,an officer had been beaten up by Y O l in Bravo D orm itory.A fter hearing

      thisnlm or,the defendanttold T.R.and said thathe w anted to see Y O3 aboutthis issue.
<

                  In the early aftelmoon of M arch 28,20 l7,after Y O 3 had been transported to solitary

      confinem ent- j.c.,Echo D onnitory- forallegedly being disrespectfulthatm om ing,the defendant

      and T.R .w entto Echo D orm itory to visitY O 3.W hen they arrived in the yard ofEcho D onnitory,

      Y O 3 w as already sitting handcuffed in the breezew ay.T.R.rem oved the handcuffs and told YO

          3 to walk to the D .R.room .O nce inside theD .R .room ,T.R .and YO 3 engaged in a étone-on-one.''

      T.R.punched Y O 3 in the stom ach and otherplacescausing Y O 3 to fallto the floor.The defendant
                   #
      asked O 3 why hew as spreading false rum orsaboutthe m op closetincident.The defendantthen

      -
              X
    fc .                                                 ?
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      slapped and punched YO 3 a few tim es in stom ach.A fter the defendantand T.R .were tinished,

       O 3 w as placed in restraints and retum ed to a bench in the Echo Donnitol'y breezeway.

C #.         Theinfonuationcontainedinthisprofferisnotacompleterecitationofthefactsand
      cizcum stances ofthis case,butthe parties agree thatitis sufficientto prove the countone ofthe

      lnfonnation beyond a reasonable doubt.

                                               Respe        11y subm itted,

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                                               SAM ANTHA REPEL TRIAL ATTORNEY
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